
962 So.2d 440 (2007)
EAST FIRST STREET, L.L.C. and M &amp; B Rentals of America, L.L.C.
v.
BOARD OF ADJUSTMENTS and City of Thibodaux.
No. 2007-C-1047.
Supreme Court of Louisiana.
August 31, 2007.
In re East First Street L.L.C. et al.; M &amp; B Rentals of America L.L.C.;  Plaintiff(s); Applying for Writ of Certiorari and/or Review, Parish of Lafourche, 17th Judicial District Court Div. C, No. 101760; *441 to the Court of Appeal, First Circuit, No. 2006 CA 0067.
Denied.
